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                    Exhibit A
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                                                                                          USOO8238869B2


(12) United States Patent                                             (10) Patent No.:     US 8,238,869 B2
       Brayton                                                        (45) Date of Patent:      Aug. 7, 2012
(54)   LIFESAVER PERSONAL ALERT AND                                (56)                    References Cited
       NOTIFICATION DEVICE
                                                                                  U.S. PATENT DOCUMENTS
(76) Inventor: D. Dwight Brayton, Richland, WA (US)                       6,792,081 B1*    9/2004 Contractor ...................... 379/45
                                                                    2002/0076003 A1        6/2002 Zellner et al.
(*) Notice: Subject to any disclaimer, the term of this             2003, OOO3900 A1
                                                                    2003/0069002 A1*
                                                                                           1/2003 Goss et al.
                                                                                           4/2003 Hunter et al. ................. 455,404
               patent is extended or adjusted under 35
               U.S.C. 154(b) by 288 days.                                      FOREIGN PATENT DOCUMENTS
                                                                   WO               OO38124            6, 2000
(21) Appl. No.:            11/993,187
                                                                   * cited by examiner
(22) PCT Fled:             Jun. 20, 2006
(86)   PCT NO.:            PCT/US2006/023972                       Primary Examiner — Kamran Afshar
       S371 (c)(1),                                                Assistant Examiner — Kashif Siddiqui
       (2), (4) Date:      Jul.19, 2010                            (74) Attorney, Agent, or Firm — Fish & Associates, PC
(87)   PCT Pub. No.: WO2OOTFOO2O82
                                                                   (57)                     ABSTRACT
       PCT Pub. Date: Jan. 4, 2007
                                                                   Systems and methods of alert and notification transmission
(65)                     Prior Publication Data                    are contemplated in which a low-range transceiver provides
       US 2010/03 11384 A1          Dec. 9, 2010                   an alert/notification to a plurality of users having a wearable
                                                                   transceiver. Most typically, the low-range transceiver (a) is
            Related U.S. Application Data                          located in a wide area notification Zone and a trigger device
                                                                   provides a signal from a wide area notification device to the
(60) Provisional application No. 60/693,541, filed on Jun.         low-range transceiver and (b) is used to also provide non
       23, 2005.                                                   emergency notifications to the wearable transceivers. It
                                                                   should be appreciated that transmission of the emergency
(51)   Int. C.
                                                                   signal using the low-range transceiver is automatic, while
       H04M II/04                (2006.01)                         transmission of the non-emergency notifications requires
(52) U.S. Cl. ..................... 455/404.1; 455/404.2: 379/45   manual user input.
(58) Field of Classification Search .................. 455/404,
              455/466,567; 340/287 309,539; 379/37-51
       See application file for complete search history.                           23 Claims, 1 Drawing Sheet



                        1 14A




                         102A
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           102A




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                            Figure 1B
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                                                      US 8,238,869 B2
                               1.                                                              2
         LIFESAVER PERSONAL ALERT AND                          plurality of notifications to a plurality of users in an auto
             NOTIFICATION DEVICE                               mated, independent, and localized manner. Most preferably, a
                                                               trigger device is configured to detect and receive a signal from
  This application claims priority to our U.S. provisional a wide area notification device, and is further configured to
patent application with the serial number 60/693,541, which is activate a low-range transceiver within the wide area notifi
was filed Jun. 23, 2005.                                       cation Zone. The low-range transceiver then sends a notifica
               FIELD OF THE INVENTION                          tion to the plurality of users via wearable transceivers, which
                                                               may transmit one or more feedback messages to the low
  The field of the invention is devices and methods for per range     transceiver. It is further preferred that in a non-emer
Sonal alert and notification.                               10 gency use, the low-range transceiver may also be employed in
                                                               a non-automated manner to transmit personal messages to
          BACKGROUND OF THE INVENTION                                 Ole O    O   USS.
                                                                        Therefore, in one aspect of the inventive subject matter, a
   All or almost all of the currently known alert systems may notification system includes a trigger device having an input
be categorized into either wide area alert/notification systems 15 module that is configured to receive a first signal from a wide
or local area alert/notification systems, and depending on the area notification device, and further having an output module
particular system, individual parties or the general public are that is configured to provide a second signal to a low-range
addressed with a specific message.                                   transceiver. Preferably, the low-range transceiver is config
   For example, systems to alert the general public of an ured to provide a third signal to at least two wearable trans
impending natural disaster (e.g., hurricane, tsunami, tornado. 20 ceivers in response to the second signal, to provide a fourth
etc.) or large-scale incidents (e.g., chemical/nuclear plant signal to at least one of the wearable transceivers in response
failure, terrorist attack, etc.) typically rely on an operator or to an operator input, and to optionally receive a fifth signal,
other mechanism to trigger transmission of an emergency wherein the wearable transceivers are configured to provide a
signal over a wide area notification Zone. Commonly known notification to a person in response to at least one of the third
instances for such wide area notifications include radio trans- is and fourth signals, and wherein the wearable transceivers are
missions to Tone Alert Radios (TAR), cable and/or radio configured to send the fifth signal.
controlled operation of sirens, public announcement systems,            Among other Suitable devices, especially contemplated
public bill boards, and/or automated dialers that call a geo wide
graphically defined group of phone and/or pager Subscribers. radios,area        notification devices include siren towers, tone alert
   While such wide area systems often reach a substantial 30 typicallytelephones,         pagers, computers, TV sets, etc. It is also
                                                                               preferred that the trigger device is integral with the
portion of the general public, numerous disadvantages
remain. Among other things, members of the public without wide area notification device (e.g., as hardware on the siren
access to a TAR or telephone are typically not aware of an tower, or as driver software in the computer). Depending on
alert/notification. Similarly, and especially in relatively noisy the particular trigger device, the output module may therefore
or isolated environments (e.g., within a plant, on a beach, or in provide a signal to the low-range transceiver via radio signal
an airport), alert/notifications via sirens and/or speakers of a 35 or electric cable. It is still further generally preferred that the
public announcement system are often not accurately under low-range transceiver is configured to operate at a frequency
stood or even readily perceived. In still further examples, and and power output that does not require a broadcast license,
especially where alert/notifications are provided via cell and that the low-range transceiver transmits both, an emer
phones, lack of reliable coverage area often prevents effective gency signal and a non-emergency signal that is specific to the
notification of all intended recipients.                          40 location of the low-range transceiver. With respect to the
   On the other hand, local area alert/notification systems wearable transceivers it should be appreciated that numerous
typically provide area specific notification, which is generally manners of alerting and notification are deemed Suitable,
of little to no interest to people outside the coverage area of however, it is especially preferred that the wearable transceiv
Such systems. Most commonly, local area alert/notification ers have text display and/or provide a verbal audible message.
systems find use in restaurant paging to indicate availability 45 Therefore, a method of providing a notification system will
of a table in a restaurant, or in hospitals that alert a doctor or comprise the steps of instructing a user to operate a low-range
nurse of a patient in need of attention. Moreover, most of the transceiver within a wide area notification Zone such that the
local paging systems only provide a blinking light, buZZing, low-range transceiver receives a signal from a trigger device,
and/or numeric display. Thus, Such systems are typically not wherein the trigger device provides the signal to the low
used for alert and notification of the public within the local 50 range transceiverin response to a wide area notification signal
area, where the notification relates to impending natural of a wide area notification device located in the wide area
disasters and/or large-scale incidents. Still further, if local notification Zone, and to distribute a plurality of wearable
paging systems would be used for dissemination of emer transceivers to a plurality of users, wherein the low-range
gency messages, such systems would have to reply on the transceiver is configured to transmit a secondary notification
operator receiving an emergency message in the first place 55 signal without user intervention to a plurality of wearable
and would then require the operator to stay on task to manu transceivers and to transmit a tertiary signal with user inter
ally relay that message through the local paging system.             vention to at least one of the plurality of wearable transceiv
   Therefore, while numerous devices and methods for alert            CS.
notification are known in the art, all or almost all of them,       Most preferably, the trigger device is electronically (and in
suffer from one or more disadvantages. Therefore, there is 60 Some cases mechanically) coupled to the wide area notifica
still a need for improved systems and methods to provide alert tion device. In still further preferred aspects, the low-range
and notification to members of the general public.               transceiver is configured to operate at a frequency and power
                                                                 output that allows operation without a broadcast license and
              SUMMARY OF THE INVENTION                           may further receive a feedback signal from at least one of the
                                                              65 wearable transceivers, which may be configured as a ring,
   The present invention is directed to systems, devices, and bracelet, or a pager. However, it should be noted that the
methods of transmitting in a wide area notification Zone a wearable transceivers may provide a feedback signal to the
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low-range transceiver and/or other device. In an especially           TAR located in a hotel resort in Miami Beach, Fla., is con
preferred method, the low-range transceiver will not only be         sidered a wide area notification device as the activation may
used to automatically relay or transmit an emergency signal,         be received from the NOAA Weather Service in Silver Spring,
but also be used to transmit a non-emergency signal (e.g.,           Md. In yet another example, the wide area notification device
entertainment or personal message) to one or more users.           5 may be TV set or a laptop computer in a wireless hotspot in
   Viewed from a different perspective, and in a still further the airport in Tulsa, Okla., where the computer is set up to
contemplated aspect of the inventive subject matter, a method receive and display a storm alert from the National Weather
of providing notification to a plurality of users may include a Service Storm Prediction Center in Norman, Okla.
step of using a low-range transceiver to automatically, plu             Therefore, the term “wide area notification Zone' as used
rally, and locally relay within a wide area notification area a 10 herein refers to an area in which a wide area notification
first notification signal from a wide area notification device. device receives a signal that triggers the wide area notification
In another step, a second notification signal is manually pro device to provide the emergency notification. Consequently,
vided to at least one of the plurality of users using the low and depending on the particular notification device and acti
range transceiver. As discussed above, preferred wide area Vation mechanism, the notification Zone may be relatively
notification device include siren towers, tone alert radios, 15
telephones, pagers, computers, and TV sets, whereina trigger limited          (e.g., several tens of km), more wide-spread (e.g.,
device may operationally couple the wide area notification countywide or statewide) or considerably large (e.g., pacific
device with the low-range transceiver. Especially preferred coast of the U.S.). Furthermore, and again depending on the
notification signals are in a text display format and/or a verbal particular nature of the notification device, the term “emer
audible format. First and second notification signals are typi- 20 gency signal” as used herein may refer to any signal that will
cally received by a plurality of wearable transceivers worn by indicate to a user impending or actual occurrence of a poten
the plurality of users, respectively, and the wearable trans tially health or life threatening event. For example, contem
ceivers may further be configured to provide a feedback sig plated emergency signals of wide area notification devices
nal (e.g., to the low-range transceiver).                            include siren Sounds, recorded or live verbal messages from a
   Various objects, features, aspects and advantages of the 25 TAR or TV set, displayed messages on a computer screen, TV
present invention will become more apparent from the fol screen, and/or highway billboard, etc., while contemplated
lowing detailed description of preferred embodiments of the emergency signals of wearable transceivers especially
invention.                                                           include visible signals (e.g., Strobe or flashing/blinking lights,
                                                                     or text display of an emergency message), audible signals
        BRIEF DESCRIPTION OF THE DRAWINGS                         30 (e.g., continuous beeps or verbal audible messages), and/or
                                                                     all other signals that attract attention to a user in close contact
   FIG. 1A is a schematic of an exemplary notification system with the device (e.g., vibration, or a hot/cold spot). Viewed
in which the trigger device is physically associated with the from a different perspective, contemplated emergency signals
wide area notification device.                                       include advisories, warnings, evacuation orders, area intru
   FIG.1B is a schematic of an exemplary notification system 35 sion alarms, etc.
in which the trigger device is physically associated with the           As also used herein, the term “low-range transceiver'
low-range transceiver.                                               refers to all transceivers that are configured to operate at a
                                                                     frequency and/or power output Such that the service Zone of
                  DETAILED DESCRIPTION                               the low range transceiver is Smaller than the wide area noti
                                                                  40 fication Zone. Therefore, most typically, preferred low-range
   The inventor has discovered that an alert system can be transceivers will operate using the family radio spectrum of
configured to allow a wide area notification device (e.g., TAR, frequencies (462 and 467 MHz) having a maximum effective
siren, telephone, etc.) to activate a low-range transceiver radiated power of 0.5 W. In such cases, the low-range trans
within the wide area notification Zone to automatically set off ceiver will typically have a service area (low-range notifica
an alert to a plurality of wearable transceivers that will notify 45 tion Zone) of less than 20 km and more typically less than 10
the wearer of an emergency. Most preferably, the low-range km as measured as linear distance between the low-range
transceiver and the wearable transceivers are further config transmitter and a receiver/transceiver that receives the signal
ured to allow individual and/or group broadcasting of a non from the low-range transceiver. However, in less preferred
emergency notification using operator input. The low-range aspects of the inventive Subject matter, the low-range trans
transceiver is in most cases activated using a trigger device 50 ceiver may also operate at numerous alternative frequencies
that is operationally and/or electronically coupled to the wide and bands, including microwave bands (e.g., 800 MHz band),
area notification device Such that no user intervention is           VHF and UHF frequencies at a power output of 0.1-100 W.
required.                                                            and even more. With respect to the term “transceiver” as used
   As used herein, the “wide area notification device' refers to     herein, it should be noted that this term generally refers to a
all notification devices that are activated by a command cen- 55 device that is configured to receive and transmit radio signals.
tral or activation mechanism from a remote location over a           However, in less preferred aspects, devices that are config
distance of at least 5 kilometers, more typically at least 50 ured to only receive radio signals are also included in the
kilometers, and most typically more at least 500 kilometers, definition of the term “transceiver'.
and that provide an audible alert signal (e.g., siren Sound,            As still further used herein, the term “wearable trans
public announcement), a visually perceptible signal (e.g., 60 ceiver” refers to all transceivers that are sufficiently small to
flashing light, displayed text message), oran electronic signal allow the transceiver to be worn on the body, in a pocket of a
that activates an emergency response device (e.g., floodgate, garment, or in a handheld purse or Small backpack (typically
shut-down device for air intake of air conditioning in a build having a largest dimension of the packing compartment of
ing or complex). For example, a coastal siren on a siren tower less than 25 cm). Therefore, preferred wearable transceivers
in the state of Oregon is considered wide area notification 65 will have a largest dimension of less than 10 cm, and more
device as the activation signal may be provided from the typically of less than 7 cm, and most preferably of less than 5
Pacific Tsunami Warning Center in Honolulu, Hi. Similarly, a C.
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   The term “trigger device' as used herein refers to refers to          a frequency and power output that allows operation without a
any interface between the wide area notification device and              broadcast license (e.g., using family radio spectrum band of
the low-range transmitter that is configured to (a) perceive,            frequencies). However, alternative frequencies and power
receive, and/or relay a notification signal from the wide area           output are also contemplated. Thus, it should be appreciated
notification device and (b) to activate the low-range trans              that contemplated systems and methods provide an auto
ceiver upon perception, reception, and/or relay of the notifi            matic, plural (i.e., to more than one wearable receiver), and
cation signal of the wide area notification device such that the         locally restricted (typically by range of to low-range trans
low-range will transmit a notification signal to at least two            ceiver) emergency signal that can be broadcast directly to a
wearable transceivers. For example, where the wide area                  user irrespective of his or her location. Moreover, such noti
notification device is a computer, the trigger device may           10   fication will not require the low-range transceiver to be
comprise or be a virtual device (e.g., Software code). In                manned as all needed operations are performed in an opera
another example, where the wide area notification device is a            tor-independent manner.
siren, the trigger device may be a physical device (e.g., circuit           Additionally, it should be appreciated that the low-range
board that relays activation signal of the siren).                       transceiver is also configured to broadcast to at least one
   In one exemplary aspect of the inventive Subject matter, a       15   wearable transceiver a non-emergency signal. For example,
hotel complex offers many recreational programs and child                where the user has a child in the child care facility, a hotel
care facilities, is located in a potential tsunami impact area,          guest may be notified of an inconsolable infant. Such non
and the nearest location for a siren and public announcement             emergency paging may also be employed to announce to a
system is approximately half a mile from the hotel complex.              larger group of guests the start of a scheduled activity (e.g.,
Here, both wide area notification devices (siren and the public          begin of a show or nature walk) or availability of a restaurant
announcement system) include a trigger device that recog                 table.
nizes and/or relays the emergency signal broadcast by the                   Most preferably, the wearable transceiver is configured to
wide area notification devices.                                          provide both a text message and a verbal audible message
   For example, the trigger device in the siren may comprise             using an alphanumeric display and a polyphonic speaker in a
a circuitry that has an input module configured to copy control     25   format that can be worn on a person or tucked away in a
signals (e.g., DTMF signal or activation from logic control              pocket or purse. For example, most preferred formats include
unit) of the siren activation controller and an output module            keychain pendants, or the wearable transceiver may have a
that provides the copied signals to via radio transmission               form of a bracelet, a ring, a pendant, or a pager, wherein the
(e.g., via 800 MHz band) or electric cable to the low-range              transceiver is most preferably waterproof, shockproof, and/or
transceiver. In another example, the trigger device in the          30   dustproof. In further especially preferred aspects, the wear
public announcement system may include an input module                   able transceiver further includes a positioning implement
that copies the audio signal prior to amplification (in analog or        (e.g., cell phone triangulator, GPS decoder, etc.) that allows
digital form) and an output module that again provides the               transmission of positional information for the person wearing
copied signals via radio transmission or electric cable to the           the wearable transceiver. While not limiting to the inventive
low-range transceiver. Most preferably, power demand of the         35   subject matter, it is typically preferred that the wearable trans
trigger device is satisfied from at least two sources, typically         ceiver includes a button or other activating mechanism that
a Solar powered battery or capacitor and the siren activation            allows a user to transmit a signal back to the low-range trans
controller or public announcement controller.                            mitter or other receiving station. For example, the feedback
   The low-range transceiver is typically located in an office           signal may be used to acknowledge receipt of an emergency
or utility room of the hotel complex and is configured to           40   signal (e.g., to account for alerted users), to confirm or decline
receive the signal(s) from the trigger device(s). Among other            an offer made through the low-range transceiver, to page a
Suitable configurations, signal transmission from the trigger            hotel clerk, etc. Thus, it should be appreciated that the wear
device to the low-range transceiver is preferably via radio              able transceiver can be used for sending both emergency
waves and/or hardwired connections. Regardless of the man                related signals (e.g., acknowledgement of an alert, positional
ner of connections, it should be appreciated that the low           45   information, and/or panic button function as safety device
range transceiver will then automatically (i.e., without input           that transmits an emergency signal to the hotel, optionally
or other immediate activity of a person) translate the signal            including positional information) and non-emergency related
received from the trigger devices into Suitable signals in a             signals (e.g., personal paging, confirmation of request, etc.).
format appropriate for transmission to at least two, more                   Therefore, a notification system is generally contemplated
typically at least 50%, even more typically at least 70%, and       50   that includes one or more trigger devices each having an input
most typically all of the wearable transceivers. It should be            module that is configured to receive a first signal from a wide
noted that the signal translation will predominantly depend              area notification device and an output module that is config
on the type of wide area notification device and type of                 ured to provide a second signal to a low-range transceiver.
wearable transceivers. For example, the siren signal could be            Particularly preferred low-range transceivers are configured
translated into a text message on a wearable transceiver, or a      55   to provide a third signal to at least two wearable transceivers
vibration alert. In another example, a public announcement               in response to the second signal, to provide a fourth non
could be translated to a verbal audible message, a displayed             emergency signal to at least one of the wearable transceivers
transcript of the public announcement, or a strobe light. While          in response to an operator input, and to optionally receive a
Such automatic message translation is preferably immedi                  fifth signal. Especially preferred wearable transceivers are
ately transmitted to the wearable transceivers, it should fur       60   configured to provide a notification to a person in response to
ther be appreciated that delaying such messages may also be              at least one of the third (emergency) and fourth (non-emer
desirable (e.g., to provide a second emergency notification              gency) signals, wherein the wearable transceivers are prefer
that is offset in time from the first notification).                     ably configured to send the fifth (emergency and/or non
   Most typically, the low-range transceiver will transmit the           emergency) signal.
signal to all of the wearable transceivers using radio waves at     65      FIG. 1A depicts an exemplary notification system in which
Suitable frequency and power output. In especially preferred             the notification system 100A has a wide area notification
aspects, the low-range transceiver is configured to operate at           device 110A in enclosure 112A, wherein device 110A is
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activated in the wide area notification Zone 114A by a wide              receive and/or translate a signal from the trigger device, (b)
area notification central or operator 102A using a wireless              automatically transmit the signal from the trigger device or
signal or signal transmitted via wire or fiber optic cable 104A.         the translated signal to at least two wearable transceivers, and
The wide area notification device 110A is further coupled to             (c) transmit a non-emergency signal to at least one wearable
a trigger device 120A having input module 122A and output                transceiver. Most preferably, the low-range transceiver is con
module 124A positioned. Here, input module 122A is                       figured to transmit at a frequency and output that does not
directly coupled via electric connection 128A to the device              require a broadcasting license. Therefore, typical range of a
activation controller (not shown) of device 110A, while the              low-range transceiver will be less than 20 km, and even more
output module 124A is operationally coupled via radio link               typically less than 10km (as measured between the low-range
126A to low-range transceiver 130. Transceiver 130 has a            10   transceiver and the wearable transceiver. Depending on the
local notification area 131, which is entirely within wide area          particular transceiver and frequency band, it is contemplated
notification Zone 114A. Wearable transceivers 140 are                    that the low-range transceiver can simultaneously transmit an
located within local notification area 131 and configured to             emergency signal to at least 10 users, more typically to at least
receive via radio link 142 an emergency signal and via radio             100 users, and most typically to at least 1000 users. However,
link 144 a non-emergency signal. Wearable transceivers 140          15   alternative frequencies and output power are also deemed
are further configured to provide a feedback signal 143A to              Suitable. Suitable transmitted signals include text messages,
the low-range transceiver 130A. Operator input 150A triggers             Voice messages, signals to activate strobe lights, vibrating
non-emergency signal via 144A. Similarly, FIG. 1B depicts a              implements, and/or hot/cold spots (e.g., Peltier element).
system substantially identical to that of FIG. 1A with the                  Furthermore, it should be recognized that contemplated
exception that the trigger device 120B is now co-located with            low-range transceivers will also be configured to transmit a
the low-range transceiver 130B in the transceiver housing                non-emergency signal to one or more predetermined wear
132B. Thus, the trigger device may be at least in part located           able transceivers. Such transmission may be encoded or
within or outside the local notification area 131A/131B.                 achieved by transmitting in a wearable transceiver specific
   With respect to wide area notification devices other than             channel similar or identical to restaurant pager systems. In
sirens on a siren tower and public announcement stations, it is     25   additionally preferred aspects, the low-range transceiver is
contemplated that all devices are deemed suitable for use                further configured to also receive one or more signals trans
herein that receive an emergency related signal from a central           mitted from the wearable transceivers. For example, where an
operator or alert station. For example, Suitable wide area               emergency signal was sent to the wearable transceivers, a
notification devices may be stationary (e.g., highway bill               feedback signal from the wearable transceivers may be
board, desktop computer or server, TV set, etc.) or mobile          30   received by the low-range transceiver that acknowledges
(e.g., laptop computer via hotspot or other wireless access,             receipt of the emergency signal, optionally with an ID code,
TAR in a hospital or hotel, cell phone or pager, etc).                   positional information, and/or time stamp of the wearable
   Therefore, it should be appreciated that suitable trigger             transceiver. Similarly, the low-range transceiver may also be
devices may be configured in various manners and that the                configured to receive a feedback signal from the wearable
particular configuration will at least to Some degree depend        35   transceivers in response to a non-emergency signal (e.g., sig
on the specific wide area notification device. For example,              nal that is specific to the location of the low-range transceiver,
where the wide area notification device is a TAR, it is gener            entertainment, and/or personal message).
ally preferred that the trigger device is integral with the wide            Especially preferred wearable transceivers are configured
area notification device. In a TAR, it is even more preferred            to provide at least one of an emergency signal and a non
that the trigger device routes and/or copies the audible alert      40   emergency signal in a text display format and/or verbal
directly to the wearable transmitters. In another example,               audible format to a user wearing such a transceiver. More
where the wide area notification device is a public announce             over, Such transceivers preferably are also configured to trans
ment device, the trigger device may be at least partially co             mit a signal to a recipient (e.g., low-range transceiver or other
located with the wide area notification device. Consequently,            receiver) that may include ID information, wearer informa
the output module may configured Such that the wide area            45   tion, positional information, time information, conformation
notification device signal is transmitted to the low-range               of a message received, etc. There are numerous transceiver
transceiver via a radio waves, fiber optic cable, and/or electric        configurations known in the art and it should be recognized
cable. In its most simple form, the trigger device is a simple           that a person of ordinary skill in the art will be readily able to
wire connecting the wide area notification device with the               modify a known transceiver to the wearable transceiver pre
low-range transmitter. In less preferred aspects, the trigger       50   sented herein. For example, suitable wearable transceivers
device may also be independent from both the wide area                   may be configured as a pendant, a ring, a bracelet, a wrist
notification device and the low-range transceiver. For                   watch, or a pager, wherein the wearable transceivers are pref
example, the trigger device may detect a strobe light or siren           erably waterproof, shockproof and/or dustproof.
tone via a photocell or microphone, and may then transmit via               Suitable alert notification may be performed in numerous
radio waves a coded signal to the low-range transceiver.            55   manners on contemplated wearable transceivers. However, it
Therefore, and regardless of the implementation of the trigger           is especially preferred that the notification is performed in at
device, it should be recognized that the trigger device pro              least one of a visual, audible, and tactile manner. For example,
vides an alert signal to the low-range transceiver in response           preferred visual manners include displayed messages on a
to a wide area notification signal of the wide area notification         Small color screen, LCD display, alphanumeric display, or
device that is located in the wide area notification Zone.          60   indicator lights lit next to a preformatted text message. Alter
Viewed from a different perspective, it should also be recog             natively, or additionally, suitable audible manners include
nized that the low-range transceiver is operated within a wide           beepers, spoken messages using polyphonic speakers, and/or
area notification Zone such that the low-range transceiver               a sequence of particular signal or ring tones, Morse-code, etc.
receives a signal from a trigger device.                                 Tactile notification may be performed via vibrating or knock
   With respect to suitable low-range transceivers, it is gen       65   ing elements, and/or via thermal hot/cold spots. Therefore, it
erally contemplated that all known low-range transceiver are             should be especially appreciated that a user has a dual use of
Suitable for use herein so long as Such transceivers can (a)             the system in which the wearable transceiver can be used as a
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                                9                                                                      10
lifesaving device as well as a communication device for per                3. The notification apparatus of claim 1 wherein the trigger
Sonal and/or entertainment use. Thus, it is contemplated that            device is integral with the wide area notification device.
a method of providing notification to a plurality of users                 4. The notification apparatus of claim 1 wherein the output
includes a step of using a low-range transceiver to automati             module is configured Such that the second signal is transmit
cally, plurally, and locally relay within a wide area notifica           ted to the low-range transceiver via a radio signal or an elec
tion area an emergency signal from a wide area notification              tric cable.
device and a step of manually providing a non-emergency                    5. The notification apparatus of claim 1 wherein the low
signal to at least one of the plurality of users using the low           range transceiver is configured to operate at a frequency and
range transceiver, wherein the user has the option to send a             power output that allows operation without a broadcast
feedback signal to the low-range transceiver (or other device)      10
                                                                         license.
in response to the emergency and/or non-emergency signal.                   6. The notification apparatus of claim 1 wherein the third
Transmission of the emergency and/or non-emergency signal                signal is an emergency signal, and wherein the fourth signalis
is typically set off on multiple devices without regard to a             a signal specific to the location of the low-range transceiver.
waiting list or queue.
   Thus, specific embodiments and applications of personal          15      7. The notification apparatus of claim 1 wherein the wear
notification devices have been disclosed. It should be appar             able transceivers are configured to provide at least one of the
ent, however, to those skilled in the art that many more modi            third and fourth signal in at least one of a text display format,
fications besides those already described are possible without           a verbal audible format, a strobe display, a hot/cold spot, and
departing from the inventive concepts herein. The inventive              a vibrating function.
subject matter, therefore, is not to be restricted except in the            8. A method of providing a notification system, comprising
spirit of the appended claims. Moreover, in interpreting both            the steps of instructing a user to:
the specification and the claims, all terms should be inter                 operate a low-range transceiver within a wide area notifi
preted in the broadest possible manner consistent with the                     cation Zone such that the low-range transceiver receives
context. In particular, the terms “comprises' and "compris                     an emergency signal from a trigger device;
ing should be interpreted as referring to elements, compo           25      wherein the trigger device provides the emergency signal
nents, or steps in a non-exclusive manner, indicating that the                 to the low-range transceiver in response to a wide area
referenced elements, components, or steps may be present, or                   notification emergency signal of a wide area notification
utilized, or combined with other elements, components, or                     device located in the wide area notification Zone; and
steps that are not expressly referenced. Furthermore, where a               distribute a plurality of wearable wireless transceivers to a
definition or use of a term in a reference, which is incorpo        30
                                                                               plurality of users, wherein the low-range transceiver is
rated by reference herein is inconsistent or contrary to the                   configured to provide a local audible and/or visible alert
definition of that term provided herein, the definition of that                notification in response to the emergency signal and to
term provided herein applies and the definition of that term in                transmit a secondary emergency notification signal
the reference does not apply.                                                  without user intervention to a plurality of wearable wire
                                                                    35
  What is claimed is:                                                          less transceivers, and further to transmit a tertiary signal
  1. A notification apparatus for use in conjunction with a                    with user intervention by an operator of the low-range
wide area notification device, comprising:                                     transceiver to at least one of the plurality of wearable
  a trigger device electronically coupled to a low-range wire                  transceivers, wherein the tertiary signal is a user-specific
     less transceiver, wherein the trigger device has an input      40         and event-specific notification signal, wherein the plu
     module configured to receive a first signal from the wide                 rality of users are persons other than the operator, and
     area emergency notification device, and further has an                    wherein the secondary signal and the tertiary signal are
     output module configured to provide a second signal to                    different and independent from each other.
     the low-range wireless transceiver in response to the first            9. The method of claim 8 wherein the trigger device is
     signal;                                                        45   electronically coupled to the wide area notification device.
  wherein the low-range wireless transceiver is configured to               10. The method of claim 8 wherein the low-range trans
     (a) provide a third signal to at least two wearable wire            ceiver is configured to operate at a frequency and power
     less transceivers in response to the second signal, (b)             output that allows operation without a broadcast license.
     provide a fourth signal to at least one of the wearable                11. The method of claim 8 wherein the low-range trans
     transceivers in response to a manual operator input by an      50   ceiver is configured to receive a feedback signal from at least
     operator of the low-range wireless transceiver, wherein             one of the wearable transceivers.
     the fourth signal is a user-specific and event-specific               12. The method of claim 8 wherein the wearable transceiv
     notification signal, and (c) optionally receive a fifth sig         ers are configured as a pendant, a ring, a bracelet, a watch, a
     nal, and (d) provide a local audible and/or visible alert           key ring, or a pager, and wherein the wearable transceivers are
     notification in response to the first signal;                  55   optionally at least one of waterproof, shockproof, and dust
  wherein the first and the third signals are an emergency               proof.
     signal, and wherein the third and fourth signals are dif              13. The method of claim 8 wherein at least one of the
     ferent and independent from each other;                             wearable transceivers is configured to provide a feedback
  wherein the wearable transceivers are configured to pro                signal to the low-range transceiver.
     vide a notification to a person in response to at least one    60      14. The method of claim 8 wherein the secondary notifi
     of the third and fourth signals, and wherein the wearable           cation signal is an emergency message and the tertiary noti
     transceivers are optionally configured to send the fifth            fication signal is an entertainment or personal message.
     signal; and                                                            15. A method of providing emergency and non-emergency
  wherein the person is an individual other than the operator.           event notification to a plurality of users, comprising:
  2. The notification apparatus of claim 1 wherein the wide         65      using a low-range transceiver to automatically relay within
area notification device is at least one of a siren tower, a tone             a wide area notification area a first emergency notifica
alert radio, a telephone, a pager, a computer, and a TV set.                  tion signal from a wide area notification device, and to
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                              11                                                                      12
     further provide an audible and/or visible alert notifica               18. The method of claim 15 wherein the notification signal
     tion in response to the first emergency notification sig            has at least one of a text display format, a verbal audible
     nal; and                                                            format, a strobe display, a hot/cold spot, and a vibrating
  manually, and independently from the first emergency                   function.
    notification signal, providing a second non-emergency                   19. The method of claim 15 wherein the wireless transmit
    notification signal to at least one of the plurality of users        ter is a wearable transceiver.
    using the low-range transceiver, wherein the non-emer                   20. The method of claim 19 further comprising a step of
    gency notification signal is a user-specific and event               transmitting a feedback signal to the low-range transceiver
    specific notification signal that is transmitted by an               using the wearable transceiver.
    operator of the low-range transceiver to a wireless trans       10      21. A wearable wireless transceiver configured to operate
    mitter that is worn by a user, wherein the user is a person          with the notification apparatus of claim 1.
    other than the operator.                                                22. A low-range transceiver configured to operate with the
  16. The method of claim 15 wherein wide area notification              notification apparatus of claim 1.
device is at least one of a siren tower, a tone alert radio, a              23. A trigger device configured to operate with the notifi
telephone, a pager, a computer, and a TV set.                       15   cation apparatus of claim 1.
  17. The method of claim 15 wherein the wide area notifi
cation device and the low-range transceiver are operationally
coupled via a trigger device.
